     Case 1:16-bk-11729-MB       Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                                  Main Document    Page 1 of 44


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 5
     Email: stella@havkinandshrago.com

 6   Attorneys for Debtor and Debtor in Possession Tomer Fridman
 7

 8                          UNITED STATES BANKRUPTCY COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                              SAN FERNANDO VALLEY DIVISION
11

12
                                                  )   Case No.: 1:16-bk-11729-MB
13                                                )
                                                  )
14   In Re:                                       )   Chapter 11
                                                  )
15                                                )
        Tomer Fridman,                                DEBTOR’S MOTON FOR AN ORDER
                                                  )   CONFIMRING HIS SECOND
16                                                )   AMENDED PLAN OF
                                                  )
17                                                )   REORGANIZATION; DECLARATIONS
                 Debtor and Debtor in Possession. )   OF TOMER FRIDMAN, ISADORA
18                                                )   FRIDMAN AND STELLA HAVKIN
                                                  )
19                                                )
                                                  )   Date: July 10, 2018
20                                                )   Time: 1:30 p.m.
                                                  )   Courtroom: 303
21                                                )
                                                  )
22
                                                  )
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                      MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                     PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                Desc
                                    Main Document    Page 2 of 44


 1          TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
 2
     BANKRUPTCY JUDGE, OFFICE OF THE UNITED STATES TRUSTEE, CREDITORS
 3
     AND OTHER INTERESTED PARTIES:
 4

 5
            Debtor and Debtor-in-Possession, Tomer Fridman (the “Debtor”) hereby submits the

 6   following Notice of Motion and Motion for an Order Confirming the Debtor’s Second Amended
 7   Chapter 11 Plan of Reorganization ("Motion") pursuant to 11 U.S.C. §1129(a) and (b).
 8

 9
                PLEASE TAKE NOTICE that on July 10, 2018, at 1:30 p.m., before the Honorable

10   Martin R. Barash, United States Bankruptcy Judge, in Courtroom 303, of the above-entitled Court,

11   Debtor will move this Court for entry of an Order Confirming the Debtor’s Second Amended

12   Chapter 11 Plan of Reorganization ("Motion").
13          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-
14   1(f), any interested party that wishes to oppose the Motion must file a written opposition with the
15   Clerk of the Bankruptcy Court, provide a courtesy copy to the chambers of the Honorable Martin
16   R. Barash and serve a copy upon the Debtor’s counsel, whose name and address are set forth in
17
     the upper left corner of the first page of the Motion. Said opposition papers shall be filed and
18
     served within fourteen (14) days of the date of service.
19
            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-
20
     1(a)(11), failure to file and serve a timely written response may be deemed by the Court to be
21
     consent to the relief requested in the Motion. This Motion is made and based upon the moving
22
     papers, the attached Memorandum of Points and Authorities and the Declarations of Tomer
23
     Fridman, Isadora Fridman, and Stella Havkin in support thereof, the arguments and
24
     representations of counsel, and any oral or documentary evidence presented at the time of the
25
     hearing.
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                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB        Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33           Desc
                                   Main Document    Page 3 of 44


 1
            WHEREFORE, Debtor respectfully requests that the Court enter an order Confirming
 2
     the Debtor’s Second Amended Chapter 11 Plan of Reorganization and granting such other and
 3
     further relief as this Court deems just and proper under the circumstances.
 4

 5
     Dated: June 20, 2018                         HAVKIN & SHRAGO
 6

 7                                                By:   /s/ Stella Havkin
                                                        Stella Havkin
 8                                                Attorneys for Tomer Fridman, Chapter 11 Debtor
 9                                                and Debtor in Possession

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                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                Desc
                                    Main Document    Page 4 of 44


 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                                   I.
 3

 4                                     FACTUAL BACKGROUND

 5          On June 9, 2016, the Debtor, who is an individual, filed the above case under Chapter 13
 6
     (the “Petition Date”). After the Debtor obtained bankruptcy counsel, this case was converted to
 7
     Chapter 11 in December, 2016. The Debtor continues to manage his bankruptcy estate and
 8

 9
     fulfill all debtor and debtor-in-possession requirements pursuant to sections 1107(a) and 1108 of

10   the Bankruptcy Code. No trustee or examiner has been appointed in the Case. Declaration of
11   Tomer Fridman, ¶2.
12
            On May 7, 2018, the Debtor’s Second Amended Disclosure Statement was approved.
13
     Subsequent to the approval of the disclosure statement, the Debtor entered into stipulations with
14

15   two creditors which provide nonmaterial modifications to the Plan. One is with the Internal

16   Revenue Service modifying the interest rate from 4.5% to 5% on its priority claim which is a
17
     minor difference in the payment. The second modification is correcting the amount of payment
18
     which is to be made to U.S. Bank pursuant to the modification of its mortgage which is a
19
     difference of approximately $100 per month. See, Havkin Decl., ¶2
20

21          The Debtor’s Second Chapter 11 Plan (“Plan’) proposes to pay administrative claims on

22   the effective date, priority creditors over course 37 months and secured creditors with arrears in
23
     full over five years. The Plan proposes to pay undisputed and liquidated unsecured creditors at
24
     32.90% of their claims consisting of payments for 60 months equal to 4% of their claims,
25

26   additional payments consisting of 16.4% of their claims for 23 months (after the priority claims

27

28                                                        4

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB        Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                  Desc
                                   Main Document    Page 5 of 44


 1   are paid in full) and payments consisting of 12.5% from estimated recovery of lawsuits against
 2
     preference defendants. Fridman Decl., ¶3.
 3
            Two classes of creditors voted in favor of the plan. Three unsecured creditors voted
 4

 5
     against the Plan. One of the unsecured creditors, LoanMe, who has not filed a claim in the case

 6   and who is proposed not to be paid through the Plan, has voted against the Plan. LoanMe is a
 7   defendant in a pending adversary complaint against it for unauthorized preferential payments and
 8
     unauthorized post petition payments. True and correct copies of the Plan Ballots are attached to
 9
     the Declaration of Stella Havkin as Exhibit “A.”
10

11   .    Summary of Assets

12          1. (a) Personal Property
13
            At the time of the filing, the Debtor’s major assets consisted of his income from self-
14
     employment from sales of real estate. The Debtor is the 100% owner of White City 26, Inc.
15
     which is his Sub-S corporation whose only value is the Debtor’s services and his real estate
16

17   license. Without the Debtor, the corporation has no independent value. Fridman Decl., ¶4.
18          The Debtor is purchasing one vehicle which is encumbered by a purchase lien from Bank
19
     of America and equity therein has been exempted. Fridman Decl., ¶5.
20
            (b)     Real Property
21

22          The Debtor co-owns a single-family home located at 25420 Prado De Las Peras,

23   Calabasas, CA 91302 with his mother. The Debtor owns 70% of the Prado De Las Peras
24
     Property and his mother owns 30%. On December 5, 2017, the Court determined that the value
25
     of the Prado de las Peras Property as of May, 2017 was $2,024,000.00. JPMorgan Chase Bank
26
     (“Chase”) holds a note secured by a first deed of trust on the Prado De Las Peras Property in the
27

28                                                       5

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33               Desc
                                     Main Document    Page 6 of 44


 1   approximate amount of $2,103,964.00 of which $79,964.04 is unsecured. No payments have
 2
     been made to Chase since the filing of this case in June, 2016, as such Chase’s claim is at least
 3
     $130,000 higher as of the date of this Motion. Fridman Decl., ¶6.
 4

 5
            Trojan Capital Investments, LLC (“Trojan”) holds a junior lien again the Prado de las

 6   Pereas Property in the approximate amount of $428,680.65. The Court has determined that
 7   Trojan’s claim is unsecured. The Franchise Tax Board (“FTB”) holds a lien against the same
 8
     property in the sum of $35,594.37. Based on the Court’s determination of the value of the Prado
 9
     de las Peras Property, the FTB lien is also unsecured. However, it is a priority claims which will
10

11   be paid through the Plan as a priority claim. Ford Motor Credit Corp has a lien in the amount of

12   $4,451.52 on the Prado de Las Peras Property against the Debtor’s mother’s share of the
13
     property. Fridman Decl., ¶7.
14
            The Debtor owns a single-family home located at 3915 Prado del Maiz, Calabasas,
15
     California 91302 valued approximately at $2,110,000.00. U.S. Bank, N.A. holds a note secured
16

17   by a first deed of trust in the approximate amount of $2,108,528.70. The Franchise Tax Board
18   has a tax lien in the amount of $35,594.47 on the Prado del Maiz Property. Main Street
19
     Acquisition Corporation has a lien in the amount of $5,651.97 on the Prado del Maiz Property.
20
     The Debtor has filed a motion to avoid that lien which has not been opposed. The Debtor
21

22   expects that the Motion will be granted, the lien will be avoided and will be treated as an

23   unsecured claim in this case. The Debtor’s mother began paying rent in on the Prado del Maiz
24
     Property since October, 2017. The Debtor entered into a temporary loan modification agreement
25
     with U.S. Bank, the terms of which are stated in the Plan. Fridman Decl., ¶8.
26

27

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                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33              Desc
                                     Main Document    Page 7 of 44


 1   B.     Events Leading to the Bankruptcy
 2
            The timing of the bankruptcy was related to a foreclosure of the Prado De Las Peras
 3
     property. See, Fridman Decl., ¶9.
 4

 5
                                                     II.

 6
              THE REQUIREMENTS OF 11 U.S.C §1129 HAVE BEEN SATISFIED AND AS
 7
                    SUCH, THE DEBTOR’S PLAN SHOULD BE CONFIRMED
 8

 9
            A Chapter 11 Plan must satisfy specific statutory requirements under 11 U.S.C.

10   §1129(a)(1)-(16) before it can be confirmed. In re Lowenschuss, 67 F3d 1394(9th Cir. 1995). A
11   consensual plan may be confirmed only when the following requirements are satisfied under 11
12
     U.S.C. §1129(a)(1)-(16):
13
                            -The plan complies with applicable provisions of the Bankruptcy Code (11
14

15   U.S.C. §1129(a)(1));

16                          - The plan proponent has complied with applicable provisions of the
17
     Bankruptcy Code (11 U.S.C. §1129(a)(2));
18
                            -The plan is proposed in “good faith” and not by any means forbidden by
19

20
     law (11 U.S.C. §1129(a)(3));

21                          -All professional fees have been approved by the court or are subject to
22   court approval (11 U.S.C. §1129(a)(4));
23
                            -The plan discloses the identities of future management and insiders to be
24
     employed under the plan (11 U.S.C. §1129(a)(5));
25

26                          -The plan proponent has obtained regulatory approvals of any rate changes

27   provide for in the plan, or rate changes are expressly conditioned on such approval (11 U.S.C.
28                                                         7

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB        Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                 Desc
                                   Main Document    Page 8 of 44


 1   §1129(a)(6));
 2
                           -Each class has accepted the plan or is not impaired by it (11 U.S.C.
 3
     §1129(a)(7));
 4

 5
                           -The plan satisfies the “best interest of creditors” test (11 U.S.C.

 6   §1129(a)(8));
 7                         -The plan provides treatment for administrative claims (11 U.S.C.
 8
     §1129(a)(9));
 9
                           -The plan has been accepted by at least one impaired class (11 U.S.C.
10

11   §1129(a)(10));

12                         -The plan is “feasible” (11 U.S.C. §1129(a)(11));
13
                           -The plan provides for payment of court and U.S. Trustee fees (11 U.S.C.
14
     §1129(a)12));
15
                           -The plan maintains certain employee retirement benefits ((11 U.S.C.
16

17   §1129(a)(13));
18                         -The plan provides for payment of post petition domestic support
19
     obligations due under order or statute (11 U.S.C. §1129(a)(14));
20
                           -The plan provides for payment of the debtor’s disposable income over 5
21

22   years to unsecured creditors (11 U.S.C. §1129(a)(15)); and

23                         -The plan provides that all transfers under the plan will be made in
24
     accordance with any applicable provisions of nonbankruptcy law that govern the transfer of
25
     property by a corporation or trust that is not a moneyed, business, or commercial corporation or
26
     trust (11 U.S.C. §1129(a)(16)).
27

28                                                        8

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB           Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                 Desc
                                      Main Document    Page 9 of 44


 1          In this instance, all requirements under 11 U.S.C. §1129(a)(1)- (16) are satisfied. The
 2
     Plan is satisfied as follows:
 3
            The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(1) because it
 4

 5
     satisfies the Code’s mandatory content requirements of proper classification of claims and

 6   interests. In re Texaco Inc., 84 B.R. 893, 905 (S.D. N.Y. 1988).
 7          The Plan proponent has complied with applicable provisions of 11 U.S.C. §1129(a)(2)
 8
     because the Plan proponent made adequate disclosures regarding the Plan and properly solicited
 9
     votes on the Plan. In re Texaco Inc., 84 B.R. 893, 906-907.
10

11          The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(3) because the

12   Plan has been proposed in good faith and not by any means forbidden by law. Courts generally
13
     find that a plan is proposed in good faith where there is a reasonable likelihood the plan “will
14
     achieve a result consistent with the objectives and purposes of the Code.” In re General
15
     Teamsters, Warehousemen & Helpers Union Local, 225 B.R. 719, 729 (N.D. CA 1998); In re
16

17   Corey, 892 F.2d 829, 835 (9th Cir. 1989).
18          The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(4) because all
19
     professional fees were subject to Court Approval. In re Texaco Inc., 84 B.R. 907-908. The Plan
20
     complies with the applicable provisions of 11 U.S.C. §1129(a)(5) because the Plan proponent has
21

22   disclosed the identity and affiliations of any individual proposed to serve, after confirmation of

23   the Plan as a director, officer, or voting trustee of the Debtor, an affiliate of the Debtor
24
     participating in a joint Plan with the Debtor, or a successor to the Debtor under the Plan (of
25
     which there are none) and (ii) the appointment to, or continuance in, such office of such
26
     individual, is consistent with the interests of creditors and equity security holders and with public
27

28                                                          9

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                   Desc
                                    Main Document    Page 10 of 44


 1   policy; and (B) the proponent of the Plan has disclosed the identity of any insider that will be
 2
     employed or retained by the reorganized Debtor, and the nature of any compensation for such
 3
     insider (of which there are none).
 4

 5
            The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(6) because there

 6   is no governmental regulatory commission with jurisdiction, after confirmation of the Plan, over
 7   the rates of the Debtor’s necessitating approval of any rate change provided for in the Plan.
 8
            The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(7) because an
 9
     impaired class of claims or interests has accepted the plan. As stated above, two impaired
10

11   classes have voted in favor of the Plan. However, Class 6 voted against the Plan.

12          The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(8) because
13
     confirmation is in the best interest of each individual creditor when compared to the recovery
14
     that the creditor would obtain in a Chapter 7 liquidation. In re Ambanc La Mesa Ltd.
15
     Partnership, 115 F.3d 650, 657(9th Cir. 1997).
16

17          The Plan complies with the applicable provisions of 11 U.S.C. §1129(a)(9) because,
18   except to the extent that the holder of a particular claim has agreed to a different treatment of
19
     such claim, the plan provides that: (A) with respect to a claim of a kind specified in section
20
     507(a)(2) or 507(a)(3) of Title 11 (11 U.S.C.S. §§507(a)(2) or 507(a)(3)), on the effective date of
21

22   the Plan, the holder of such claim will receive on account of such claim cash equal to the allowed

23   amount of such claim; (B) with respect to a class of claims of a kind specified in section
24
     507(a)(1), 507(a)(4), 507(a)(5), 507(a)(6) or 507(a)(7) of Title 11 (11 U.S.C.S. §§507(a)(1),
25
     507(a)(4), 507(a)(5), 507(a)(6) or 507(a)(7), each holder of a claim of such class will receive (i)
26
     if such class has accepted the Plan, deferred cash payments of value, as of the effective date of
27

28                                                        10

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


                                                                                                         10
     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                   Desc
                                     Main Document    Page 11 of 44


 1   the Plan, equal to the allowed amount of such claim, or (ii) if such class has not accepted the
 2
     Plan, cash on the effective date of the Plan equal to the allowed amount of such claim; (C) with
 3
     respect to a claim of a kind specified in section 507(a)(8) of Title 11 (11 U.S.C.S. §507(a)(8)),
 4

 5
     the holder of such claim will receive on account of such claim regular installment payments in

 6   cash (i) of a total value, as of the effective date of the Plan, equal to the allowed amount of such
 7   claim, (ii) over a period ending not later than five years after the date of the order for relief under
 8
     section 301, 302, or 303 of Title 11 (11 U.S.C.S. §§301, 302, or 303), and (iii) in a manner not
 9
     less favorable than the most favored nonpriority unsecured claim provided for by the plan (other
10

11   than cash payments made to a class of creditors under section 1122(b) of Title 11 (11 U.S.C.S.

12   §1122(b)); and (D) with respect to a secured claim which would otherwise meet the description
13
     of an unsecured claim of a governmental unit under section 507(a)(8) of Title 11 (11 U.S.C.S.
14
     §507(a)(8)), but for the secured status of the claim, the holder of that claim will receive on
15
     account of that claim, cash payments, in the same manner and over the same period, as
16

17   prescribed in subparagraph (C), above. The Plan complies with 11 U.S.C. §1129(a)(10) is
18   because the Plan has been accepted by at least one impaired class. See, Havkin Decl., ¶3.
19
            The Plan complies with 11 U.S.C. §1129(a)(11) because confirmation of the Plan is
20
     feasible and is not likely to be followed by the liquidation, or the need for further financial
21

22   reorganization of the Debtor. Further, the Plan has a reasonable probability of success. In re

23   Acequila, Inc. 787 F2d 1352,1364 (9th Cir. 1986)
24
            The Plan complies with 11 U.S.C. §1129(a)(12) because the Plan provides for payment of
25
     all court and U.S. Trustee fees. All fees payable under 28 U.S.C. §1930, as determined by the
26
     Court at the hearing on confirmation of the Plan, are to be paid under the Plan as of the effective
27

28                                                         11

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                  Desc
                                    Main Document    Page 12 of 44


 1   date of the Plan.
 2
            The Plan complies with 11 U.S.C. §1129(a)(13) because the Plan provides for the
 3
     continuation after its effective date of payment of all retiree benefits (of which there are none),
 4

 5
     as that term is defined in section 1114 of Title 11 (11 U.S.C.S. §1114), at any time prior to

 6   confirmation of the Plan, for the duration of the period the Debtor has obligated himself to
 7   provide such benefits.
 8
            The Plan complies with 11 U.S.C. (a)(14) because the Debtor is not required by a judicial
 9
     or administrative order, or by a statute, to pay a domestic support obligation.
10

11          The Plan complies with 11 U.S.C. §1129(a)(15) because the value, as of the effective

12   date of the plan, of the property to be distributed under the Plan on account of each allowed
13
     unsecured claim is not less than the projected disposable income of the Debtor (as defined in
14
     §1325(b)(2) of Title 11 (11 U.S.C.S. §1325(b)(2)) to be received during the five year period.
15
     Beginning on the date that the first payment is due under the Plan, or during the period for which
16

17   the Plan provides payments, whichever is longer.
18          11 U.S.C. §1129(a)(16) is satisfied because all transfers of property under the Plan shall
19
     be made in accordance with any applicable provisions of non bankruptcy law that govern the
20
     transfer of property by a corporation or trust that is not a moneyed, business, or commercial
21

22   corporation or trust (of which there are none).

23
            However, because the Debtor did not obtain a vote by all impaired classes of creditors,
24
     the Debtor seeks confirmation pursuant to 11 U.S.C. §1129(b).
25

26

27

28                                                        12

                         MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                        PLAN OF REORGANIZATION


                                                                                                       12
     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                Desc
                                    Main Document    Page 13 of 44


 1
                                                         III.
 2
            DEBTOR’S PLAN SATISFIES THE REQUIREMENTS SET FORTH IN 11 U.S.C.
 3
                            §1129(b) AND THUS, SHOULD BE CONFIRMED
 4
            Because Class 6 which is the unsecured class has voted against the Plan, in order to
 5
     confirm, Debtor must establish that the requirements of §1129(b) have been met with respect to
 6

 7
     Class 6.

 8      1. Requirements of § 1129(b)(1)

 9          11 U.S.C. §1129(b)(1) provides:

10
                    Notwithstanding section 510(a) of this title, if all of the applicable
11

12                  requirements of subsection (a) of this section other than paragraph

13                  (8) are met with respect to a plan, the court, on request of the
14
                    proponent of the plan, shall confirm the plan notwithstanding the
15
                    requirements of such paragraph if the plan does not discriminate
16

17
                    unfairly and is fair and equitable, with respect to each class of

18                  claims or interests that is impaired under, and has not accepted, the
19                  plan.
20

21
        2. Requirements of §1129(b)(2)

22
                a. The Plan Complies With the Provisions of § 1129(b)(2)(B)
23
            For the purpose of this subsection, the condition that a plan be fair and equitable with
24

25   respect to a class includes the following requirements:
26
            With respect to the treatment of unsecured claims, §1129(b)(2)(B) provides as follows:
27

28                                                        13

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


                                                                                                       13
     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                    Desc
                                    Main Document    Page 14 of 44


 1                  (i) the plan provides that each holder of a claim of such class receive or retain on
 2
                 account of such claim property of a value, as of the effective date of the plan, equal
 3
                 to the allowed amount of such claim; or
 4

 5
                    (ii) the holder of any claim or interest that is junior to the claims of such class will

 6               not receive or retain under the plan on account of such junior claim or interest any
 7               property, except that in a case in which the debtor is an individual, the debtor may
 8
                 retain property included in the estate under section 1115, subject to the requirements
 9
                 of subsection (a)(14) of this section.
10

11          Class 6 consists entirely of all undisputed, liquidated and unsecured claims in the total
12
     sum of $538,644.46. The Plan proposes to pay such creditors at 32.90% of their claims
13
     consisting of payments for 60 months equal to 4.0% of their claims, additional payments
14
     consisting of 16.4% of their claims for 23 months (after the priority claims are paid in full) and
15
     payments consisting of 12.5% from the projected recovery of lawsuits against preference
16
     defendants. The total amount projected to be paid to unsecured creditors is $177,214.48. See,
17
     Fridman Decl., ¶3.
18

19          The Plan Complies With the Provisions of § 1129(b)(2)(B)

20                  With respect to the treatment of unsecured claims, §1129(b)(2)(B) provides as
21   follows:
                    (2) For the purpose of this subsection, the condition that a plan be fair and
22

23                  equitable with respect to a class includes the following requirements:

24                          (A)     With respect to a class of unsecured claims, the plan provides -
25
                                            (i)the plan provides that each holder of a claim of such
26
                                    class receive or retain on account of such claim property of a
27

28                                                        14

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


                                                                                                         14
     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                     Desc
                                     Main Document    Page 15 of 44


 1                                   value, as of the effective date of the plan, equal to the allowed
 2
                                     amount of such claim; or
 3
                                             (ii) the holder of any claim or interest that is junior to the
 4

 5
                                     claims of such class will not receive or retain under the plan on

 6                                   account of such junior claim or interest any property, except that in
 7                                   a case in which the debtor is an individual, the debtor may retain
 8
                                     property included in the estate under section 1115, subject to the
 9
                                     requirements of subsection (a)(14) of this section.
10

11           Class 6 consists entirely of Debtor’s unsecured undisputed and liquidated claims are now
12
     estimated to total approximately $538,644.46. See, Exhibit “B” to Havkin Declaration. The
13
     Plan proposes to pay undisputed and liquidated unsecured creditors at 32.9% of their claims
14
     consisting of payments for 60 months equal to 4.0% of their claims, additional payments
15
     consisting of 16.4% of their claims for 23 months (after the priority claims are paid in full) and
16
     payments consisting of 12.5% from the projected recovery in adversary proceedings against
17
     preference defendants in the total amount of $177,214.48.
18

19           A plan is only "fair and equitable" to the impaired unsecured creditor class if the allowed

20   value of the claim(s) will be paid in full, or if the holder of any claim or interest that is junior to
21   the dissenting creditors will not receive or retain any property under the plan on account of such
22   junior claim or interest. This condition is generally referred to as the “absolute priority rule.” A
23   Chapter 11 plan cannot be confirmed by the Bankruptcy Court if it violates the absolute priority
24   rule.
25
             Based on new 9th Circuit law [In re Zachary, 2016 U.S. App. LEXIS 1368 (9th Cir.
26
     2016)], “…an individual debtor may not cram down a plan what would permit the debtor to
27

28                                                          15

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


                                                                                                              15
     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                   Desc
                                    Main Document    Page 16 of 44


 1
     retain prepetition property that is not excluded from the estate by §541, but may cram down a
 2
     plan that permits the debtor to retain only postpetition property.”
 3
            If the absolute priority rule is not met, the Court may nevertheless confirm a plan if new
 4
     value is paid into the plan (the “new value exception” or “new value corollary”). Allowing old
 5
     equity to retain an interest does not violate the absolute priority rule if the former equity holders
 6

 7
     provide new value to the reorganized debtor, under the “new value corollary” to the absolute

 8   priority rule. In re Ambanc La Mesa Ltd. P'ship, 115 F.3d 650 (9th Cir. 1997).

 9

10                        Assets Sought to be Retained

11          In the context of a business case, the concept of new value is fairly straightforward: if the
12   unsecured class votes against the plan, the owners, as the most junior of the class of
13   claims/interest, cannot retain their interest in the reorganized debtor unless they propose new
14   value. In essence, the owners must prove that retention of their ownership interests will not be
15
     merely on account of the interests they held prepetition. However, in the context of an individual
16
     case, such as the case at hand, often the prepetition assets a debtor seeks to retain are exempt and
17
     over encumbered and thus the analysis is not quite as clear-cut.
18
            In this case, Debtor seek to retain his Residence which has no equity (Class 2), the Maiz
19
     property which has no equity (Class 3) and one vehicle which has a lien against it and any in
20
     which has been exempted. These are assets which are listed on Exhibit “A” to his approved
21
     Disclosure Statement.
22
            The Court in In re Bullard, 358 B.R. 541, 544-545 (Bankr. D. Conn, 2007) states that
23
     “[t]here is disagreement among the cases concerning whether a chapter 11 debtor may retain his
24

25
     exempt property and still comply with Section 1129(b)(2)(B)(ii).”

26

27

28                                                        16

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


                                                                                                        16
     Case 1:16-bk-11729-MB           Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                  Desc
                                      Main Document    Page 17 of 44


 1
             The Bullard Court cites In re Gosman, 282 B.R. 45, 48-52 (Bankr.S.D.Fla.2002)’s
 2
     holding that §1129(b)(2)(B)(ii)'s prohibition against the debtor's retention of “any property”
 3
     means that the debtor cannot comply with that subsection if he retains his exempt property.
 4
             The Bullard Court asserts, citing to In re Henderson, 321 B.R. 550, 559-60
 5
     (Bankr.M.D.Fla.2005), aff'd, 341 B.R. 783 (M.D.Fla.2006), that:
 6

 7
             The better line of authority holds that the debtor's retention of his exempt property does
 8
     not offend Section 1129(b)(2)(B)(ii) because such retention is not "on account of ... [the debtor's]
 9
     junior interest ..." in property:
10

11           Once the exemptions are allowed the properties are no longer part of the Debtor's estate,
12
             and the Debtor does not retain property on account of such interest because he retains it
13
             as a matter of right by virtue of recognition of his right to exemptions....
14
             The ordinary meaning of the term "junior" means a claim or interest that is subordinate to
15
     other claims or interests which enjoy a higher rank. The word "junior" defined in Black's Law
16
     Dictionary, at p. 851 (6th Ed.1990), as "[a] legal right which is subordinate to another's right as
17
     applied to property ..." The same meaning of "junior" is applied throughout the entire
18
     Bankruptcy Code. It is clear that the Debtor's interest in exempt property can never be junior to
19
     the interest of creditor's [sic] including the claim of dissenting unsecured creditors. This is so
20
     because unsecured creditors could never reach exempt property outside of bankruptcy, and such
21

22
     properties are immune and not subject to liquidation under any of the operating Chapters of the

23   Code.

24           Section 522(c) of the Code provides, in pertinent part, "... property exempted under this

25   Section is not liable during or after the case for any debt of the debtor that arose ... before the
26   commencement of the case...." Giving unsecured creditors in a dissenting class veto power over
27

28                                                         17

                         MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                        PLAN OF REORGANIZATION


                                                                                                           17
     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                  Desc
                                     Main Document    Page 18 of 44


 1
     a plan requiring exempt property to be given to such creditor's [sic], is an incorrect reading of the
 2
     Bankruptcy Code.
 3
            Based on the forgoing, if Debtor herein sought to retain only his exempt assets, and so
 4
     long as the other elements of §1129 were met, he could still seek confirmation even though the
 5
     unsecured class of claims voted against his Plan.
 6

 7
            However, Debtor herein also seek to retain his over encumbered residence, over

 8   encumbered rental property, an automobile which is being purchased and which has been

 9   exempted, as well as a business which outside of the Debtor has no independent value as he is a

10   real estate agent. As such, the absolute priority rule comes into play and he must propose new

11   value in order to retain those prepetition assets.
12                       i. New Value Exception/Corollary
13          In order to qualify for the exception, a party must contribute capital which is (a) new, (b)
14   substantial, (c) money or money's worth, (d) necessary for reorganization, and (e) reasonably
15
     equivalent to the value or interest received. In re Bonner Mall P'ship, 2 F.3d 899, 908 (9th Cir.
16
     1993). See also Case v. Los Angeles Lumber, 308 U.S. at 121-22, 60 S.Ct. at 10-11; Snyder v.
17
     Farm Credit Bank of St. Louis (In re Snyder), 967 F.2d 1126, (7th Cir. 1992).
18
                            A. Influx of Capital Must Be “New.”
19
            As the unsecured class has voted against the Plan, the Debtor’s mother will contribute
20
     $23,000 to the Plan which is approximately 4.3% of the claims. Thus, in addition to the
21
     payments to be made by the Debtor be disbursed pro rata in the sum of 32.90% of the claims
22
     over the life of the Plan. Thus, the total amount projected to be paid to the unsecured creditors is
23
     37.2% . See, Declaration of Isadora Fridman, ¶2.
24

25
            This influx of capital is “new” in that these are funds are not part of the estate, are not a

26   pre or post petition asset of the Debtor, and are not funds which he has control over.

27

28                                                        18

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


                                                                                                         18
     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                    Desc
                                     Main Document    Page 19 of 44


 1
                            B. Influx of Capital Must Be “Substantial.”
 2
            The new value contribution must be substantial. "[A] significant number of courts have
 3
     required that the new value contribution be ‘substantial’ in comparison to such things as (1) the
 4
     total unsecured claims against the debtor, (2) the claims being discharged, or (3) the dividend
 5
     being paid on unsecured claims by virtue of the contribution." In re Ambanc La Mesa Ltd.
 6

 7
     P'ship, 115 F.3d 650, 655 (9th Cir. 1997).

 8
            Debtor maintains that the new value contribution is substantial in comparison to the total
 9

10
     unsecured claims against him, is substantial in comparison to the claims being discharged, and is

11   substantial in comparison to the dividend being paid on unsecured claims by virtue of the
12   contribution for the following reasons:
13
            If Debtor’s Plan is not confirmed, he will have to convert this case to Chapter 7. In a
14
     prospective Chapter 7 case, unsecured creditors will receive much less - $9,473.00. See, Exhibit
15

16   “C” to the Havkin.

17
            Whereas through his Plan, Debtor seeks to pay his unsecured creditors 32.9% from Plan
18
     payments and from projected recovery from preference cases. The new value contribution
19
     increases the payout to the unsecured class to 37.2% or $200,214.48.
20
                                   i.   Additional Considerations of “Substantiality” of the New
21
                                        Value Contribution.
22
            The Court in Bank of Am. v. 203 N. LaSalle St. P'ship, 526 U.S. 434, set forth additional
23

24
     considerations when analyzing new value, namely (i) whether overbidding or some other form of

25   “market valuation” is required to assure that “full value” is paid, or if instead termination of

26   exclusivity is required under 11 U.S.C. §1121(d) in order to assure that a debtor does not have

27   the “exclusive” opportunity to retain the equity interest.
28                                                        19

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                 Desc
                                     Main Document    Page 20 of 44


 1
            Debtor agrees that an auction of the interests of a business debtor’s owners would be a
 2
     quick and meaningful way to determine whether what the owners seek to pay is enough. “Under
 3
     a plan granting an exclusive right, making no provision for competing bids or a competing plan,
 4
     any determination that the price was top dollar would necessarily be made by a judge in
 5
     bankruptcy court, whereas the best way to determine value is exposure to a market.” Bank of Am.
 6

 7
     v. 203 N. LaSalle St. P'ship, 526 U.S. 434.

 8          While an auction of the interests of a business debtor’s owners can be easily marketed, an

 9   auction of a debtor’s home and vehicle would result in a host of issues. Based on the forgoing,

10   Debtors believe that in an individual Chapter 11 case, the appropriate test to determine whether

11   the amount of the new value is substantial is based on the numbers – the Debtor is proposing to
12   contribute a significant amount to the Plan which the creditors would not see in a Chapter 7.
13              c.      Influx of Capital Must Be “Money or Money’s Worth.”
14          This element of the Bonner Mall rule is fairly straightforward as Debtor is making a pure
15
     cash contribution to the plan from her exempt funds which will disbursed pro rata to the
16
     unsecured creditors by the effective date of the Plan.
17
            Under the money or money’s worth requirement, the new value contribution must consist
18
     of money or property which is freely traded in the economy and must be a present contribution,
19
     i.e., on the effective date of a plan rather than future contributions. See In re Ambanc La Mesa
20
     Ltd. P'ship, 115 F.3d 650 (9th Cir. 1997).
21
                d.      Influx of Capital Must Be “Necessary for Reorganization.”
22
            This element of the Bonner Mall rule is also fairly straightforward. If Debtor does not
23
     contribute the necessary new value, Debtor will be unable to overcome the absolute priority rule
24

25
     and his Plan will fail. Debtor’s only options at that point will be to dismiss or convert to Chapter

26   7, neither of which is a reorganization of his financial affairs.

27

28                                                         20

                        MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                       PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33             Desc
                                    Main Document    Page 21 of 44


 1
                e. Influx of Capital Must Be “Reasonably Equivalent to the Value or Interest
 2
                    Received.”
 3
            On confirmation, Debtor will own his Residence which is over encumbered, a rental
 4
     property which is over encumbered as well as a car which is not paid off and has been exempted.
 5
     Debtor believes that a contribution of payments in the approximate sum of $200,214 over the
 6

 7
     course of five years is worth significantly more than assets that he is getting to keep.

 8
                                                      III.
 9

10
                                               CONCLUSION

11          The Debtor respectfully requests that the Court confirm his Plan based on the Motion and
12   the evidence provided in support thereof.
13

14
     Dated: June 19, 2018                          HAVKIN & SHRAGO
15
                                                   By:    /s/ Stella Havkin
16
                                                         STELLA HAVKIN
17                                                       Attorneys for Debtor and Debtor in
                                                         Possession Tomer Fridman
18

19

20

21

22

23

24

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26

27

28                                                           21

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                 Desc
                                    Main Document    Page 22 of 44


 1                             DECLARATION OF TOMER FRIDMAN
 2

 3                 I, Tomer Fridman, hereby declare and state as follows:

 4           1.     I am the debtor and debtor-in-possession in the above referenced Chapter 11 case.
 5
     I am over 18 years of age. Except when based on information and belief, I make this
 6
     declaration based on the facts within my personal knowledge and if called as a witness
 7

 8   could and would testify thereto.

 9           2.      On June 9, 2016, I filed the instant case under Chapter 13 (the “Petition
10
     Date”). After I obtained bankruptcy counsel, this case was converted to Chapter 11 in
11
     December, 2016. I have continued to manage my bankruptcy estate and fulfill all debtor and
12
     debtor-in-possession requirements pursuant to sections 1107(a) and 1108 of the Bankruptcy
13

14   Code. No trustee or examiner has been appointed in the Case.

15           3.     My Second Chapter 11 Plan (“Plan’) proposes to pay administrative claims on the
16
     effective date, priority creditors over course 37 months and secured creditors with arrears in full
17
     over five years. The Plan proposes to pay undisputed and liquidated unsecured creditors at
18

19
     32.90% of their claims consisting of payments for 60 months equal to 4% of their claims,

20   additional payments consisting of 16.4% of their claims for 23 months (after the priority claims
21   are paid in full) and payments consisting of 12.5% from estimated recovery of lawsuits against
22
     preference defendants.
23
             4.     At the time of the filing, my major assets consisted of my income from
24

25   self-employment income from sales of real estate. I am the 100% owner of White City

26   26, Inc. which is my Sub-S corporation whose only value is my services and my real estate
27
     license. Without me, the corporation has no independent value.
28                                                       22

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


                                                                                                      22
     Case 1:16-bk-11729-MB        Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                 Desc
                                   Main Document    Page 23 of 44


 1          5.      I am purchasing a Range Rover which is encumbered by a purchase lien from
 2
     Bank of America and equity therein has been exempted.
 3
            6.      I co-own a single-family home located at 25420 Prado De Las Peras, Calabasas,
 4

 5
     CA 91302 (the “Prado de las Peras Property”) with my mother. I own 70% of the Prado De Las

 6   Peras Property and my mother owns 30%. On December 5, 2017, the Court determined that the
 7   value of the Prado de las Peras Property as of May, 2017 was $2,024,000.00. JPMorgan Chase
 8
     Bank (“Chase”) holds a note secured by a first deed of trust on the Prado De Las Peras Property
 9
     in the approximate amount of $2,103,964.00 of which $79,964.04 is unsecured. No payments
10

11   have been made to Chase since the filing of this case in June, 2016, as such Chase’s claim is at

12   least $130,000 higher as of the date of this Motion.
13
            7.      Trojan Capital Investments, LLC (“Trojan”) holds a junior lien again the Prado de
14
     Las Pereas Property in the approximate amount of $428,680.65. The Court has determined that
15
     Trojan’s claim is unsecured. The Franchise Tax Board (“FTB”) holds a lien against the same
16

17   property in the sum of $35,594.37. Based on the Court’s determination of the value of the Prado
18   de Las Peras Property, the FTB lien is also unsecured. However, it is a priority claims which
19
     will be paid through the Plan as a priority claim. Ford Motor Credit Corp has a lien in the
20
     amount of $4,451.52 on the Prado de Las Peras Property against my mother’s share of the
21

22   property.

23          8.      I own a single-family home located at 3915 Prado del Maiz, Calabasas, California
24
     91302 (the “Prado del Maiz Property”) valued approximately at $2,110,000.00. U.S. Bank, N.A.
25
     holds a note secured by a first deed of trust in the approximate amount of $2,108,528. The
26
     Franchise Tax Board has a tax lien in the amount of $35,594.47 on the Prado del Maiz Property.
27

28                                                          23

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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           Case 1:16-bk-11729-MB             Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33              Desc
                                              Main Document    Page 24 of 44


       1    Main Street Acquisition Corporation has a lien in the amount of $5,651.97 on the Prado del Maiz
       2
            Property. I filed a motion to avoid that lien which has not been opposed. I expect that the
       3
            Motion will be granted, the lien will be avoided and will be treated as an unsecured claim in this
       4

       5
            case. My mother began paying rent in on the Prado del Maiz Property since October, 2017. I

       6    entered into a temporary loan modification agreement with U.S. Bank, the terms of which are set
       7    forth in the Plan.
       8
                    9.       The timing of the bankruptcy was related to a foreclosure of the Prado De Las
       9
            Peras property.
      10

      11

      12            Executed this 20th day of June , 2018 at Calabasas, California. I declare under penalty

      13    of perjury under the laws of the State of California that the foregoing is true and correct.
      14

      15
                                                             ___________________________
      16                                                           Tomer Fridman
      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27

      28                                                          24

                                 MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                                PLAN OF REORGANIZATION


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     Case 1:16-bk-11729-MB         Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                  Desc
                                    Main Document    Page 25 of 44


 1                              DECLARATION OF STELLA HAVKIN
 2
            1.      I am an attorney at law licensed to practice before all of the courts of the State of
 3
     California and this Court. I am the attorney of record for the Debtor and Debtor in Possession
 4

 5
     Tomer Fridman. All of the facts stated herein are true and correct to the best of my personal

 6   knowledge and if called as a witness could and would competently testify thereto.
 7          2.      On May 7, 2018, the Debtor’s Second Amended Disclosure Statement was
 8
     approved. Subsequent to the approval of the disclosure statement, the Debtor entered into
 9
     stipulations with two creditors which provide nonmaterial modifications to the Plan. One is with
10

11   the Internal Revenue Service modifying the interest rate from 4.5% to 5% on its priority claim

12   which is a minor difference in the payment. The second modification is correcting the amount of
13
     payment which is to be made to U.S. Bank pursuant to the modification of its mortgage which is
14
     a difference of approximately $100 per month.
15
            3.      Two classes of creditors voted in favor of the plan. Three unsecured creditors
16

17   voted against the Plan. One of the unsecured creditors, LoanMe, who has not filed a claim in the
18   case and who is proposed not to be paid through the Plan, has voted against the Plan. LoanMe is
19
     a defendant in a pending adversary complaint against it for unauthorized preferential payments
20
     and unauthorized post petition payments. True and correct copies of the Plan Ballots are
21

22   attached hereto as Exhibit “A.”

23          4.      The Plan complies with 11 U.S.C. §1129(a)(10) is because the Plan has been
24
     accepted by two impaired classes.
25
            5.      Class 6 consists entirely of Debtor’s unsecured undisputed and liquidated claims
26
     are now estimated to total approximately $538,644.46. The proof of claims summary and
27

28                                                        25

                       MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                      PLAN OF REORGANIZATION


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Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 26 of 44




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Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 27 of 44




                                 EXHIBIT A



                                                                            27
          Case 1:16-bk-11729-MB                   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                                        Desc
                                                   Main Document    Page 28 of 44

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
STELLA HAVKIN, Bar No. 134334
HAVKIN & SHRAGO
ATTORNEYS AT LAW
5950 Canoga Avenue, Suite 400
Woodland Hills, CA 91367
Telephone: (818) 999-1568
Facsimile: (818) 305-6040
email: stella@havkinandshrago.com




     Individual appearing without attorney
     Attorney for: Debtor

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEYDIVISION
                                                                             DIVISION

 In re:                                                                      CASE NO.: 1:16-bk-11729-MB
Tomer Fridman,                                                               CHAPTER: 11

Debtor and Debtor iin Possession
                                                                                              PLAN BALLOT SUMMARY
                                                                              (NOTE: The Plan Proponent must file a Plan Ballot
                                                                                     Summary at least 1 day prior to the Confirmation
                                                                                     Hearing.)

                                                                             DATE: 07/10/2018
                                                                             TIME: 1:30 am
                                                                             COURTROOM: 303
                                                                             ADDRESS: 21041 Burbank Blvd., Woodland Hills, CA
                                                                                        91367

                                                             Debtor(s).


1. Proponent of Plan (specify name): Tomer Fridman Debtor and Debtor in Possesion

2. Are there any competing plans filed with the court?                                Yes                  No

3. Is a cramdown requested?                                                           Yes                  No

4. Unimpaired classes (specify class numbers): 1 ,4, 5, 7, 8, 9

5. Impaired classes (specify class numbers): 2, 3, 6

6. Has any impaired class approved the Plan?                                          Yes                  No
   (If YES, specify which class or classes): 2 and 3




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2014                                                           Page 1                                                 28
                                                                                                          F 3018-2.PLAN.BALLOT.SUMMARY
         Case 1:16-bk-11729-MB                   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                                         Desc
                                                  Main Document    Page 29 of 44
7. Pursuant to 11 U.S.C. § 1126(c), only the actual ballots cast are counted to determine whether a given class has
   voted to accept or reject the plan. That section further provides that a class will have accepted the plan if voting
   creditors in such class holding at least two-thirds in amount and more than one-half in number have voted to
   accept the plan.

    The following is a summary by creditor class of the ballots that were returned in a timely manner (an example is
    included on the following page):

                                                    Number                                                       Amount
                                             Number of claims                                                      Dollar amount of
                             Total number of                                             Aggregate dollar
                                              voted in favor of Percentage                                       claims voted in favor Percentage
                             claims voted by                                             amount of claims
   Class        Impaired?                    accepting the plan accepting                                        of accepting the plan accepting
                               members of                                               voted by members
                                              (A) and rejecting   (A ÷ N)                                        (A) and rejecting the (A ÷ Amt)
                                 class (N)                                                of class (Amt)
                                                the plan (R)                                                           plan (R)
                                                 (A)                                                             (A)
     1              N       (N)              0                                    % (Amt)
                                                                              0.00%                      $0.00                                      %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)
                                                 (A)             100                                             (A) $ 2,103,964.04
     2              Y       (N)              1                                  % (Amt) $2,103,964.04
                                                                         10,000.00%                                                                  %
                                                                                                                                               100.00%
                                                 (R)                0                                            (R)         $ 0.00
                                                 (A)             100                                             (A) $ 2,340,546.00
     3              Y       (N)              1                                  % (Amt) $2,340,546.00
                                                                         10,000.00%                                                                  %
                                                                                                                                               100.00%
                                                 (R)                0                                            (R)         $ 0.00

                                                 (A)                0                                            (A)             $ 0.00
     4               n      (N)              3                                    % (Amt)
                                                                              0.00%                                                                 %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)
                                                 (A)                0                                            (A)
     5               n      (N)                                               0.00%
                                                                                  % (Amt)                                                        0.00%
                                                                                                                                                    %
                                                 (R)                                                             (R)
                                                 (A)                                                             (A)
     6              y       (N)                                              0.00%
                                                                                 % (Amt)         $508,254.33                                        %
                                                                                                                                                 0.00%
                                                 (R)             100                                             (R)    $ 508,254.33

                                                 (A)                                                             (A)
     7              n       (N)                                                   % (Amt)
                                                                              0.00%                                                                 %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)
                                                 (A)                                                             (A)
     8              n       (N)                                                   % (Amt)
                                                                              0.00%                                                                 %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)
                                                 (A)                                                             (A)
     9              n       (N)                                                   % (Amt)
                                                                              0.00%                                                                 %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)
                                                 (A)                                                             (A)
                            (N)                                                   % (Amt)
                                                                              0.00%                                                                 %
                                                                                                                                                 0.00%
                                                 (R)                                                             (R)

   see attached continuation page
Comments:




Date: 06/20/2018                                                                 /s/ Stella Havkin
                                                                                 Signature of Debtor, or attorney for Debtor

                                                                                 Stella Havkin
                                                                                 Printed name of Debtor, or attorney for Debtor

           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2014                                                           Page 2                                                29
                                                                                                         F 3018-2.PLAN.BALLOT.SUMMARY
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 30 of 44




                                                                            30
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 31 of 44




                                                                            31
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 32 of 44




                                                                            32
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 33 of 44




                                                                            33
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 34 of 44




                                                                            34
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 35 of 44




                                                                            35
       Case 1:16-bk-11729-MB                      Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                                      Desc
                                                   Main Document    Page 36 of 44


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    5950 Canoga Avenue, Suite 400, Woodland Hills, CA 91367

                                                                      Chapter 11 Ballots (revised)
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
06/20/2018           I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 havkinlaw@earthlink.net; stella@havkinandshrago.com             ustpregion16.wp.ecf@usdoj.gov
  anb@severson.com, dgl@severson.com;efiling@severson.com wdk@wolffirm.com
  alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy.flores@flpllp.com
 ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com claims@recoverycorp.com
                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  06/20/2018
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Honorable Martin R. Barash via Court drop box




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/20/2018         Stella Havkin                                                               /s/ Stella Havkin
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012
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                                                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:16-bk-11729-MB       Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                             Main Document    Page 37 of 44


ecfcacb@aldridgepite.com, jhanawalt@ecf.inforuptcy.com

Brownsteinlaw.bill@gmail.com

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bwslaw.com;fcabezas@bwslaw.com
rgarcia@bwslaw.com, bantle@bwslaw.com,rjr-nef@bwslaw.com




                                                                                37
Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 38 of 44




                                EXHIBIT B



                                                                            38
                                  Case 1:16-bk-11729-MB                          Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                            Desc
                                                                                  Main Document    Page 39 of 44


Tomer Fridman                                          EXHIBIT B GENERAL UNSECURED CLAIMS
Claim Information                        Insider  Scheduled Claims                 Filed Claims             Claims to be paid Plan payment      Plan payment Recovery Pay TOTAL PAYMENT
Name                                        Y?   Amount        D/C/U                        Amount POC #                      4.00 % for 60 mos 16.4% for 23 mo12.5% recovery     32.90%
First National Bank of Omaha                 N       $7,179.37   U                        $7,179.37    1            $7,179.37           $287.17      $1,177.42        $897.42   $2,362.01
American Express Centurion Bank              N         $984.35   U                          $984.35    8              $984.35            $39.37        $161.43        $123.04    $323.84
Asset Acceptance, LLC                        N           $0.00   U                        $1,969.00   11            $1,969.00            $78.76        $322.92        $246.13    $647.81
Cavalry SPV I LLC                            N       $2,380.15   U                        $2,380.15    6            $2,380.15            $95.21        $390.34        $297.52    $783.07
Cavalry SPV I LLC                            N         $178.37   U                          $178.37   13              $178.37             $7.10         $29.25         $22.30      $58.65
Commissions Funding Solutions                N      $92,513.00 U**                                    25                                  $0.00           $0.00         $0.00       $0.00
Internal Revenue Service                     N       $7,569.28                            $7,569.28  19-3           $7,569.28           $302.77      $1,241.36        $946.16   $2,490.29
Loan Me*                                     N       $7,179.00   U                                                                        $0.00           $0.00
Loan Me*                                             $4,317.77   U                             $0.00                                      $0.00           $0.00
Main Street Acquisition Corp.                N       $5,651.97   U                         $5,651.97    9           $5,651.97           $226.08        $926.92        $706.50   $1,859.50
Main Street Acquisition Corp. (claim with N              $0.00   D                         $5,651.97   21                                 $0.00           $0.00         $0.00       $0.00
Midland Credit Management                    N       $1,969.92   U                                           $      1,969.92             $78.80        $323.07        $246.24    $648.11
Navient Solutions, LLC                       N      $58,814.98   U                        $58,814.98   17         $58,814.98          $2,352.60      $9,645.66      $7,351.87  $19,350.13
Nordstrom                                    N       $4,567.00   U                                                                        $0.00           $0.00
Palatino Homeowners Association              N       $2,024.35   U                         $2,024.35   22           $2,024.35            $80.97        $331.99        $253.04    $666.00
Portfolio Recovery Associates, LLC           N       $3,060.42   U                         $3,060.42   15           $3,060.42           $122.42        $501.91        $382.55   $1,006.88
Trojan Capital Investments, LLC              N     $428,680.65   D                       $428,680.65             $428,680.65        $17,147.72      $70,303.63     $53,585.08 $141,036.43
SYNCB/JCP                                    N           $0.00                                                                            $0.00           $0.00
Wells Fargo Bank, N.A.                       N                   U                         $9,200.51   3            $9,200.51           $368.02      $1,508.88      $1,150.06   $3,026.96
Wells Fargo Bank, N.A.                       N                   U                         $5,013.20   4            $5,013.20           $200.53        $822.16        $626.65   $1,649.34
Wells Fargo Bank, N.A.                       N                   U                         $3,967.94   5            $3,967.94           $158.72        $650.74        $495.99   $1,305.45




TOTAL PLAN PAYMENTS                                                                      $542,326.51              538,644.46     $21,546.24     $88,337.69     67,330.55     $177,214.48

* This creditor is subject to 11 U.S.C. Section 549 recovery and will not be paid through the plan
** Claim was withdrawn




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Case 1:16-bk-11729-MB   Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                         Main Document    Page 40 of 44




                                EXHIBIT C



                                                                            40
                                             Case 1:16-bk-11729-MB                                    Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33           Desc
                                                                                                       Main Document    Page 41 of 44


EXHIBIT C: TOMER FRIDMAN LIQUIDATION ANALYSIS

1. Legal or Equitable interest in any residence, building,                           27. Licenses, franchises, and other general
land, or similar property                                                            intangibles. Real estate/brokerage license?                        $0.00
   25420 Prado de las Peras, Calabasas, CA 910301.
[70% Co-owner]**                                                   $2,024,000.00 28. Tax refunds owed to you                                            $0.00
   3915 Prado del Maiz, Calabasas, CA 91302*                       $1,650,000.00 29. Family support                                                     $0.00
                                                                                 30. other amounts someone owes you                                     $0.00
2. Total Real Estate                                               $4,125,000.00 31. Interest in insurance policies                                     $0.00
3. Cars, vans, trucks, tractors, sport utility vehicles,                         32. Any interest in property that is due you from
motorcycles                                                                      someone who has died                                                   $0.00
                                                                                 33. Claims against third parties, whether or not you
 Purchase of 2013 Land Rover***                                                  have filed a lawsuit or made demand for payment:                       $0.00
                                                                                 34. other contingent and unliquidated claims of every
                                                                                 nature, including counterclaims of the debtor and
   Lease of 2014 Mercedes 550                                                    rights                                                                 $0.00
                                                                                     Complaints for turnover of post-petition payments
4. Watercraft, aircraft, motor homes, ATVs and other                             to creditors: LoanMe, Strategic Funding and EBF
recreational vehicles, other vehicles, and accessories                           partners                                                          $82,883.31
5. [Total Vehicles]
6. Household goods and furnishings*                                    $10,000.00
7. Electronics: TV, audio, printer cell                                              Claim for post-petition payment against Gideon
phone/computers/digital                                                           Fridman                                                          $10,000.00
8. Collectibles of value paintings/art/books                                $0.00 35. any financial assets not listed                                   $0.00
9. Equipment for sports and hobbies                                         $0.00 36. [Total Financial assets]                                    $168,905.03
                                                                                  37-45. Legal or equitable interest in business property:
10. Firearms
                                                                            $0.00 schedules                                                             $0.00
                                                                                  46-52. legal or equitable interest in farm or fishing
11. Clothes*                                                            $2,000.00 property                                                              $0.00
                                                                                  53. Property of any kind: potential cause of action
                                                                                  against HOA. Since the property was foreclosed, the
12. Jewelry (watches)                                                             cause of action is likely moot                                        $0.00
13. Non-farm animals                                                        $0.00 Total Personal Property                                    $    180,905.03
14. Any other personal and household items                                  $0.00 TOTAL OF ALL PROPERTY                                      $ 4,305,905.03
15. [Total personal and household items]                               $12,000.00   Less Secured claims                                        -$4,024,006.60
16. Cash                                                                  $100.00    Less Chapter 11: Administrative Claims                       -$80,000.00
17. Deposits of Money                                                                Less Chapter 11: Trustee Fees                                 -$1,800.00
    Wells Fargo Bank, N.A. DIP account #4560                            $9,254.51       Less Priority Claims                                      -$108,161.73
    Wells Fargo Bank, N.A. White City 26, Inc. account
#4674                                                                  $65,667.21       Less Exempt Property
18. Bonds, mutual funds, or publically traded stocks                        $0.00       Less student loans                                         -$58,814.98
19. Non-publicly traded stock and interests in
incorporated and unincorporated businesses, including an
interest in an LLC, partnership and joint venture: White
City 26, Inc.*                                                          $1,000.00       Less General Unsecured Claims:                           -$569,744.52
20. Government and corporate bonds and other
negotiable and non-negotiable instruments                                    $0.00 Chapter 7: Estimated Trustee Fees                         $      12,000.00
21. Retirement or pension accounts                                           $0.00 Estimated dividend in Chapter 7                           $       9,473.00
22. Security deposits and prepayments:                                       $0.00 Estimated dividend in Plan 32.9%                          $     177,214.48
23. Annuities                                                                $0.00
24-26. IRAs, Trusts, equitable or future interests, Patents
and copyrights                                                               $0.00



* Valuation is based on Debtor's estimates
** Valuation based on Court order
*** Car has no value since amount to Bank of America exceeds its current value




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DocuSign Envelope ID: EF772D85-4363-4BAF-BEA1-DA9CD92215DB
           Case 1:16-bk-11729-MB             Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33              Desc
                                              Main Document    Page 42 of 44


       1                                DECLARATION OF ISADORA FRIDMAN
       2
                    I, Isadora Fridman, hereby declare and state as follows:
       3
                    1.        I am the debtor and debtor-in-possession in the above referenced Chapter 11 case.
       4

       5
            I am over 18 years of age. Except when based on information and belief, I make this

       6    declaration based on the facts within my personal knowledge and if called as a witness could
       7    and would testify thereto.
       8
                    2.       I agree to contribute $23,000 towards my son’s Chapter 11 Plan. I have the
       9
            ability to provide such an amount on the effective date.
      10

      11            Executed this 19th day of June, 2018 at Calabasas, California. I declare under

      12    penalty of perjury under the laws of the State of California that the foregoing is true and
      13
            correct.
      14
                                                                     _____________________
      15                                                             Isadora Fridman
      16

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                                MOTION FOR CONFIRMATION OF SECOND AMENDED CHAPTER 11
                                               PLAN OF REORGANIZATION


                                                                                                            42
       Case 1:16-bk-11729-MB             Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33                        Desc
                                          Main Document    Page 43 of 44


                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    5950 Canoga Avenue, Suite 400, Woodland Hills, CA 91367

                                                                      Motion for Confirmation of Debtor's Second
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Amended Plan of Reorganization; Declarations
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
06/20/2018           I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 havkinlaw@earthlink.net; stella@havkinandshrago.com             ustpregion16.wp.ecf@usdoj.gov
  anb@severson.com, dgl@severson.com;efiling@severson.com wdk@wolffirm.com
  alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy.flores@flpllp.com
 ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com claims@recoverycorp.com
                                                                        ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              06/20/2018        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  06/20/2018
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Honorable Martin R. Barash via Court drop box




                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/20/2018     Stella Havkin                                                  /s/ Stella Havkin
 Date                    Printed Name                                          Signature




                                                                                                                  43
Case 1:16-bk-11729-MB       Doc 547 Filed 06/20/18 Entered 06/20/18 09:15:33   Desc
                             Main Document    Page 44 of 44


ecfcacb@aldridgepite.com, jhanawalt@ecf.inforuptcy.com

Brownsteinlaw.bill@gmail.com

Erica.Loftis@BuckleyMadole.com, Susana.Hernandez@BuckleyMadole.com

Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com

randym@cookseylaw.com

jennifer.r.musial@salliemae.com

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hpaloci@hotmail.com, hpaloci@calibankruptcy.com

bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com

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rreynolds@bwslaw.com, psoeffner@bwslaw.com,tmims@bwslaw.com,rjrnef@
bwslaw.com;fcabezas@bwslaw.com
rgarcia@bwslaw.com, bantle@bwslaw.com,rjr-nef@bwslaw.com




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